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        OAKLEY, INC.
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  11                    IN THE UNITED STATES DISTRICT COURT
  12                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
  13
  14    OAKLEY, INC., a Washington            )   Civil Action No.
        corporation,                          )   8:17-cv-01580-AG (MRWx)
  15                                          )
                      Plaintiff,              )
  16                                          )   OAKLEY’S REQUEST FOR
               v.                             )   ENTRY OF DEFAULT
  17                                          )
        TRILLION TOP COMPANY                  )
  18    LIMITED LLC, a Hong Kong, S.A.R.      )
        company,                              )
  19                                          )
                      Defendant.              )
  20                                          )
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    1         Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure, Plaintiff
    2   Oakley, Inc. (“Oakley”) hereby requests that the Clerk of the Court enter default
    3   in this matter against Defendant Trillion Top Company Limited LLC
    4   (“Defendant”).
    5         As explained in Oakley’s recent Motion to Strike Defendant’s Answer,
    6   Defendant has refused to participate in this lawsuit. (See Dkt. No. 64-1;
    7   Katzenellenbogen Decl. ¶¶ 4-10.) In its Motion to Strike, Oakley explained that
    8   once the Court has stricken Defendant’s Answer, Oakley would request that the
    9   Clerk enter default against Defendant. (Dkt. No. 64-1 at 1:4-5, 2:1-3.)
  10           On March 15, 2019, the Court granted Oakley’s Motion to Strike and
  11    entered an Order striking Defendant’s Answer. (Dkt. No. 65; Katzenellenbogen
  12    Decl. ¶ 10.) The Court explained as follows:
  13          When a corporation fails to retain counsel to represent it in an action,
  14          it’s [sic] answer may be stricken. PHL Variable Ins. Co. v. Crescent
  15          Fin. & Ins. Agency, Inc., 2017 WL 4342050, at *2 (C.D. Cal. Sept.
  16          28, 2017). Defendant’s answer could also be stricken based on
  17          Defendant’s failure to comply with the Court’s discovery orders.
  18          See Fed. R. Civ. P. 37(b)(2). The Court ordered Defendant to
  19          produce certain responses and documents about five months ago,
  20          and Defendant hasn’t done so. (Katzenellenbogen Decl. ¶ 2.) Nor
  21          has Defendant paid the $2,352 sanction the Court ordered it to pay
  22          in 2018. (Id. ¶ 3.) The Court thus strikes Defendant’s Answer.
  23    (Dkt. No. 65 at 2.)
  24          Accordingly, Defendant no longer has an Answer on file in this action.
  25    Because Defendant has failed to defend itself in this lawsuit and the Court has
  26    stricken Defendant’s Answer, Oakley respectfully requests that the Clerk enter
  27    default pursuant to Rule 55(a) of the Federal Rules of Civil Procedure against
  28    Defendant Trillion Top Company Limited LLC.
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    1                              Respectfully submitted,
    2                              KNOBBE, MARTENS, OLSON & BEAR, LLP
    3
    4   Dated: March 26, 2019      By: /s/ Lauren Keller Katzenellenbogen
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    5                                 Lauren Keller Katzenellenbogen
                                      Ali S. Razai
    6                                 Daniel C. Kiang
    7                              Attorneys for Plaintiff
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